Exhibit C



                                      IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA

            RALEIGH WAKE CITIZENS ASSOCIATION,                     )
            et al.                                                 )
                                                                   )
                                    Plaintiffs,                    )
                                                                   )             No. 5:15-cv-156
                             v.                                    )
                                                                   )
            WAKE COUNTY BOARD OF ELECTIONS,                        )
                                                                   )
                                    Defendant.                     )


            CALLA WRIGHT, et al.                      )
                                                      )
                              Plaintiffs,             )
                                                      )
                        v.                            )                          No. 5:13-cv-607
                                                      )
            STATE OF NORTH CAROLINA, et al.           )
                                                      )
                              Defendant.              )
            __________________________________________)


                                  DEFENDANT’S RESPONSE TO JULY 8, 2016 ORDER

                   Defendant Wake County Board of Elections (“WBOE”) respectfully submits the following

            response to this Court’s Order entered on July 8, 2016 (D.E.1 78).

                                                    Applicable Deadlines

                   A calendar of the applicable 2016 election deadlines, with citations to the applicable

            election laws in Chapter 163 of the North Carolina General Statutes, is attached as Exhibit A to

            the Declaration of Gary Sims (“Sims Decl.”).

                   These election deadlines currently apply to the WBOE unless they are modified by the

            North Carolina State Board of Elections (“SBOE”) pursuant to its statutory authority. The SBOE


                   1
                       Cites to “D.E.” refer to docket entries in 5:15-cv-156.



                      Case 5:15-cv-00156-D Document 83 Filed 07/18/16 Page 1 of 7
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has authority to issue temporary interim rules modifying certain deadlines in response to a court

order as long as such rules are consistent with Chapter 163 (see Notice from Kimberly Strach (D.E.

81)). The WBOE cannot presently predict whether and how such interim rules would come into

play with respect to any modifications to the electoral districts that were declared to be invalid by

the Fourth Circuit. Absent such modifications, the WBOE is without authority to adopt or devise

a different election schedule.

       Regarding the specific deadlines requested by the Court, the WBOE highlights the

following:

       1.      Filing Periods.

               (a)     The filing period for election to the Wake County Board of County

Commissioners ended on December 21, 2015. See S.L. 2015-258, §2(b).

               (b)     The filing period for the Wake County Board of Education began on June

13, 2016 and ended on July 1, 2016. See S.L. 2013-110, § 2.

               (c)     The date by which an unaffiliated candidate had to petition to have his name

printed on the general election ballot was June 24, 2016. See G.S. § 163-122 (stating deadline as

last Friday in June preceding the general election).

       2.      Qualification Periods. Upon the receipt of a notice of candidacy, the WBOE

immediately inspects the registration records of the county to determine whether the candidate

meets the constitutional or statutory qualifications for office. See G.S. § 163-106(g); see also G.S.

§ 163-127.2 (providing for 10-day period to challenge a candidate’s qualifications).

       3.      Deadline to Request a Write-In Option. The date by which individuals may request

that space be added to a ballot for a write-in option for a particular office is currently August 10,




                                     2
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2016. See G.S. § 163-123(c) (“These petitions must be filed on or before noon on the 90th day

before the general election . . . .”).

         4.     Military, Overseas and Other Absentee Ballots. The date when military, overseas,

and other absentee ballots must be mailed is currently September 9, 2016. G.S. §§ 163-227.3

(absentee ballots); 163-258.9 (transmission of military-overseas ballots). The SBOE may modify

this deadline in certain circumstances and subject to federal requirements. See G.S. § 163-22(k);

see also 52 U.S.C. § 20302 (federal requirements for military and overseas absentee ballots). To

date, the SBOE has not exercised such authority with respect to the November 8, 2016 election.

See Sims Decl. ¶ 7.

         5.     Printing Ballots. Ballots are printed between the deadline to request a write-in

candidacy option (August 10, 2016) and the deadline for mailing military, overseas and other

absentee ballots (September 9, 2016). During this 30-day time period, the WBOE must verify the

content to be printed on the ballots, prepare and test ballot templates, print and test ballots, and

obtain appropriate certifications or approvals from the State Board of Election. See Sims Decl. ¶¶

26–30.

         6.     Early Voting. Early voting for the General Election begins on October 27, 2016.

See G.S. § 227.2(b) (one-stop voting begins on the second Tuesday before the election).

                                               * * *

         The critical deadline currently in place with respect to the General Election is August 10,

2016, which is the deadline for petitioning for space on the ballot for a write-in candidate. That is

the last act necessary to begin the preparation of ballots in anticipation of complying with the date

to mail military, overseas and absentee ballots by the current deadline of September 9, 2016.




                                       3
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                            Impact of Deadlines on Affected Elections

        1.      Board of County Commissioners Numbered Districts. There are 3 seats up for

election for the Wake County Board of County Commissioners on November 8, 2016. Those seats

are residency districts 4, 5, and 6 used by the Wake County Board of County Commissioners in

the 2014 election from which candidates were elected at-large (“2014 Districts”). See S.L. § 2015-

4, § 1(b). The primary election for these seats was scheduled for March 15, 2016, but those races

were uncontested. The WBOE is prepared to proceed with the at-large election for these three

residency districts.

        2.      Board of County Commissioners Lettered Districts. If revisions are made to

lettered districts A and B, it will not be feasible to hold a primary election for the Wake County

Board of County Commissioners for those revised districts in time for the General Election. In

order for a primary election to be held before August 10, 2016, the WBOE would need to do all of

the following before August 10, 2016: (i) receive a revised district map2 from the General

Assembly, the SBOE, or the Court, (ii) code revised districts in order to identify the addresses

within each district,3 (iii) provide a notice of a new filing period for the revised districts so that

individuals can identify and assess their districts for purposes of a potential candidacy, (iv) open

and close a candidate filing period, (v) provide a notice of election, and (vi) hold a primary election,

including an early voting period, and canvass the results of that election. See Sims Decl. ¶¶ 16–




        2
         Receipt of a “map” refers to a shape file that includes the shape of the district boundaries
as an overlay to the map of the county. If the WBOE does not receive a shape file map, it will
need to coordinate with the county GIS department to generate a shape file map before coding the
new districts. See Sims Decl. ¶ 23.
        3
           The time required to code the districts would depend upon the amount of changes made
to the districts and the nature of those changes. See Sims Decl. ¶ 23.


                                     4
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21. The WBOE understands from the SBOE that a truncated or expedited candidate filing period

is typically at least one week. See Sims Decl. ¶ 16.

        3.     Board of Education. In order for elections to be held on November 8, 2016, for

revised districts for the Wake County Board of Education, the WBOE would need to do all of the

following before August 10, 2016: (i) receive a revised district map from the General Assembly,

the State Board of Elections, or the Court, (ii) code revised districts in order to identify the

addresses within each district, (iii) provide a notice of a new filing period for the new districts so

that individuals can identify and assess their districts for purposes of a potential candidacy, and

(iv) open and close a candidate filing period.

        The WBOE does not have further views on the propriety of the effect of an injunction that

would bar the use in the November 2016 election of the plans that the Fourth Circuit invalidated,

except that (i) it is not feasible to hold a new primary election for revised lettered districts A and

B for the Board of County Commissioners in time for the November 8, 2016 election, and (ii) any

revised districts for the Wake County Board of Education would need to be drawn, implemented,

and subject to reasonable notice and filing periods before the current deadline of August 10, 2016,

in accordance with authorization and instructions from the SBOE.

        Given the election deadlines currently in place, the SBOE’s authority to provide interim

rules and other modifications in response to a Court order, and the WBOE’s duty to follow such

rules and modifications, the WBOE will take all necessary and feasible steps to comply with, and

implement, any schedule adopted by the Court or the SBOE regarding a Court-ordered remedial

plan.




                                      5
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Respectfully submitted the 18th of July, 2016.



                                     /s/ Charles F. Marshall
                                     Charles F. Marshall
                                     Matthew B. Tynan
                                     Jessica Thaller-Moran
                                     BROOKS, PIERCE, McLENDON,
                                       HUMPHREY & LEONARD, L.L.P.
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                                     Counsel for Wake County Board of Elections




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 18, 2016, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system and have verified that such filing was sent electronically using

the CM/ECF system to the following:

                      Anita S. Earls
                      Allison Jean Riggs
                      Southern Coalition for Social Justice
                      1415 West Highway 54, Suite 101
                      Durham, NC 27707
                      919-323-3380 x115
                      Fax: 919-323-3942
                      anita@southerncoalition.org
                      allison@southerncoalition.org
                      Counsel for Plaintiffs-Appellants

) 273-7885
                                              Respectfully Submitted,


                                              /s/ Charles F. Marshall
                                              Charles F. Marshall




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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                     Consolidated Civil Action

RALEIGH WAKE CITIZENS ASSOCIATION, )
et                    al.                          )
                                                      )
                       Plaintiffs, )
                                                      ) No. 5:15-cv-156
               V.                              )
                                                      )
WAKE COUNTY BOARD OF ELECTIONS, )
                                                      )
                       Defendant. )



CALLA WRIGHT, et al. )
                                                      )
                       Plaintiffs, )
                                                      )
               vs.          )    No.5:13-cv-607

                                                      )
STATE OF NORTH CAROLINA, et al. )
                                                      )
                       Defendant. )
                                                     J
                                DECLARATION OF GARY SIMS

       NOW COMES Gary Sims, who under penalty of perjury states as follows:


        1. I am over 18 years of age, legally competent to give this declaration, and have


personal knowledge of the facts set forth in it.


       2. I am the Director of Elections for Wake County, North Carolina, a position I have


held since July 2015. In my role as Director, it is my responsibility to ensure that Wake County


elections are orderly, fair, and open; that elections comply with all requirements set forth in the


North Carolina General Statutes, or by the North Carolina State Board of Elections ("SBOE"); and

that elections are conducted in a manner that will preserve the integrity of the democratic process.




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Before I was appointed Director, I served for eight years as Deputy Director of Elections for Wake


County. I have worked in elections since 1999.


        3. The Board is responsible for conducting all elections held in Wake County. These


responsibilities, largely dictated by North Carolina statutes, include facilitating local elections;

establishing election precincts and voting sites; appointing and training precinct officials;

preparing and distributing ballots and voting equipment; cavassing and certifying the ballots cast

in elections; investigating any voting irregularities; maintaining voter registration and participation

records; and providing election information to members of the public.


       4. As Director of the Wake County Board of Elections, I am familiar with the


procedures for elections in this County.


    OVERVIEW OF STATUTORY REQUIREMENTS FOR THE GENERAL ELECTION

        5. In administering any general election, special election, or primary election. Wake


County is bound by the timelines set forth in the North Carolina General Statutes, as administered


by the SBOE.

        6. The General Election will be on November 8,2016. The deadlines listed below all


have been calculated in reference to that date. Attached for the Court's reference as Exhibit A is


a chart detailing the applicable statutory deadlines in relation to the November 8 General Election.


       7. I have referenced the relevant sections of the General Statutes that I believe to be


applicable. Ultimately, the WBOE follows the guidance and instructions of the SBOE with respect

to the implementation of the election process, including applicable deadlines. I understand that


the SBOE has authority to modify election deadlines in certain. circumstances. To date, I am not


aware that the SBOE has exercised any such authority with respect to any of the deadlines


discussed below.




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        8. The candidate filing period for the Wake County Board of Education, which is

neither a primary-based election nor a municipal election, historically has been dictated by session


law. According to Session Law 2013-110, the candidate filing period begins at 12:00 noon on the


second Monday in June, and ends at 12:00 noon on the first Friday in July. For 2016, these dates


fell on June 13 and July 1.


        9. Pursuant to N.C. Gen. Stat. § 163-122, a qualified voter who seeks to have his name


printed on a general election ballot as an unaffiliated candidate for a county office must file written


petitions with the Board on or before the last Friday in June. For 201 6, this deadline fell on Friday,

June 24.


      • 10. Pursuant to N.C. Gen. Stat. § 163-258.16, not later than 100 days before a regularly


scheduled election, and as soon as practicable in the case of an election not regularly scheduled,


the Board must prepare an election notice to be used in conjunction with the federal write-in


absentee ballot under the Uniformed and Overseas Citizens Absentee Voting Act. The notice must


contain a list of all the ballot measures and federal, state, and local offices that, as of that date, are


expected to be on the election ballot. In reference to the regularly scheduled election on November


8, 2016, this deadline falls on July 31,2016.

        11. Pursuant to N.C. Gen. Stat. § 163-123, a candidate seeking to have write-in votes


counted towards electing him to a county office—and therefore, to have a space for a write-in vote


printed on the ballot—must file written petitions with the county board of elections on or before


the 90th day before the General Election. This deadline falls on Wednesday, August 10, 2016.

This is the final deadline for content to be included on a ballot. All subsequent deadlines address


voter information and access.




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         12. Pursuant to N.C. Gen. Stat. §§ 163-227.3 and 163-258.9, absentee ballots must be


made available to all covered voters, i.e., all voters who submit a valid military-overseas ballot


application or are otherwise qualified to vote by absentee ballot, no later than 60 days prior to a


statewide general election in even-numbered years, unless the SBOE authorizes a shorter period


under N.C. Gen. Stat. § 163-22(k) that is consistent with federal law. For the statewide general


election occurring on November 8, 2016, this deadline falls on September 9,2016.


         13. Pursuant to N.C. Gen. Stat. § 163-128, the Board must publish notice of any


changes of voting precincts and/or voting places no later than 45 days prior to the next primary or


general election. For purposes of the November elections, this date falls on September 24,2016.


         14. Pursuant to N.C. Gen. Stat. § 163-227.2, early voting takes place between the


second Thursday before an election and the last Saturday before that election. For the 2016 general


election, this time period runs from October 27,2016, until November 5, 2016.


         15. Voters must be registered no later than 25 days prior to any election or primary.


For the November 2016 elections, this deadline falls on October 14,2016. N.C. Gen. Stat. § 163-


82.6.


                 OVERVIEW OF STATUTORY REQUIREMENTS FOR ANY
                              PRIMARY ELECTION

         16. A primary election is subject to many of the same requirements detailed above. The


Board must prepare an election notice not less than 100 days before any primary, or as soon as


practicable if the election is not regularly scheduled. N.C. Gen. Stat. § 163-258.16. The notice of


candidate filing period, and the candidate filing period itself, are dictated in part by the SBOE and

in part by N.C. Gen. Stat. § 163-106(f). To my knowledge, the SBOE has not recently


implemented a filing period that lasted less than five business days.




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        17. Pursuant to N.C. Gen. Stat. § 163-287, any election must be noticed 45 days before


the election date. Additionally, as with any general election, the Board must publish notice of any


changes of voting precincts and/or voting places no later than 45 days prior to the next primary.


N.C. Gen. Stat. § 163-128.


        18. A candidate seeking a party primary nomination for any county office, including


the Wake County Board of County Commissioners, must file a notice of candidacy in accordance


with applicable law or instruction from the SBOE.1 For 2016, the North Carolina General


Assembly established a candidate filing period that concluded on December 21,2015.

        19. In accordance with N.C. Gen. Stat. § 163-227.2, early voting for a primary takes


place between the second Thursday before an election and the last Saturday before that election.


        20. Pursuant to N.C. Gen. Stat. § 163-227.3, absentee ballots must be made available


to all covered voters no later than 50 days before any primary, or 45 days if authorized by the


SBOE.

        21. After any primary or special election is held, the Board must complete the canvass


of the votes cast and authenticate the count in every ballot item, culminating in the authentication


of the official election results seven days after the election. N.C. Gen. Stat. § 163-182.5. Thus,


for example, for ballot information to be completed in accordance with the statutory requirements


listed above, it is important that any primary election take place no later than seven days prior to


the current August 10, 2016 deadline.




1 The SBOE has the authority under N.C. Gen. Stat. § 163-22.2 to make reasonable mles and
regulation with regard to any primary or election. N.C. Gen. Stat. §§ 163-22; 163-22.2.

                                                 5

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         OVERVIEW OF WAKE COUNTY BOARD OF ELECTIONS PROCEDURES

        22. Approximately ten percent of the state's registered voters reside in Wake County.


To comply with the above-referenced statutory requirements and to adequately serve the large


number of voters residing in Wake County, the Board begins to prepare for the election process


several months before Election Day.


        23. At the beginning of this process, the Board must code any applicable Wake County


districts to identify the addresses that are part of the individual districts. The time required to code

the districts depends on a variety of factors, such as whether the Board receives a "shape file" of


the districts and the extent and nature of the changes required to be made to implement new


districts. For example, if the Board does not receive a "shape file," which is a visual representation


of the districts on a map, the Board will coordinate with the county Geological Information System


department to generate such a file before coding the new districts.


        Polling Places

       24. As the election approaches, the Board takes steps to adequately staff all identified


polling places. To competently serve Wake County voters, the Board must recmit and train


approximately 650 workers to serve at polling places during the early voting period. The Board


must recruit and train approximately 2,600 workers to serve at polling places on Election Day. It


takes several sessions and significant resources to train these workers, making it very logistically


difficult to simultaneously train both groups.


       25. Due to the amount of space required, the Board—like many other bodies charged


with administering elections—typically works with facilities such as schools and churches to


identify and schedule polling places. To accommodate school, child care, and/or church schedules,


these polling places are identified and booked several months in advance. Under state law, the




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polling places must be finalized and formally noticed no later than 45 days prior to the election.


N.C. Gen. Stat. § 163-128(a).


        Creating and Printing Ballots

        26. Because of the importance of accuracy on the ballot and the need to avoid any


processing complications, both the Board and the SBOE conduct an extensive editing and testing


process to ensure complete accuracy of the ballots to be used in any election.


        27. Immediately after the deadline to petition for write-in space on a ballot, which is


90 days before the election (this year, August 10, 2016), the SBOE begins to proofread all ballot

content for non-local races. At the same time, the Board begins to craft the template for the Wake


County ballot. The Board then inserts the information from the SBOE on the non-local races into


its template before conducting an extensive proofreading and testing process to ensure accuracy.


        28. The Board then submits the completed Wake County template—which by then


holds information for all local, state, and federal positions that voters will elect in the upcoming


election—for approval from the SBOE. The SBOE is responsible for reviewing the ballot


templates of all 100 counties, and does so on a "first come, first serve" basis.


       29. To print the ballots, the Board submits a template to an outside vendor listing the


candidates for all elections that will be held on that date, including local, state, and national


elections. After the vendor returns the printed ballots to the Board, the Board must then test those


ballots to ensure that there will be no problems with the ballots being processed by the vote-


counting software.


       30. The Board generally utilizes the entire period of time between the deadline to

petition for a write-in space and the deadline for the submission of absentee ballots to conduct this


process.




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       I declare under penalty of perjury under the laws of the United States of America that the


foregoing is true and correct to the best of my knowledge.


       Executed this 18th day of July, 2016. /, ^--,

                                                                  .M X
                                                                 ./<._) .—--, ^ } z _.
                                                             Gary Sims
                                                             Director
                                                             Wake County Board of Elections




        Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 8 of 8
      Case 5:15-cv-00156-D Document 101-4 Filed 08/08/16 Page 15 of 17
 DATE      TIME       EVENT                                    EXHIBIT  A TO DECLARATION
                                                                   Election               OF GARY
                                                                                     REFERENCE        SIMS
                                                                                               (N.C. GEN. STAT.)     RULE
                      Standard deadline to file notice of candidacy
2/29/16               if seeking party primary nomination for any 2016 Gen              163-106(c)                   The last business day in February preceding the primary.
                      county office
                      Deadline to file petitions with the Wake
                      County Board of Elections to have name
6/24/16    12:00 PM                                                 2016 Gen            163-122                      The last Friday in June preceding the general election.
                      included on general election ballot as




                                                                                                                                                                                                             Case 5:15-cv-00156-D Document 101-4 Filed 08/08/16 Page 16 of 17
                      unaffiliated candidate for county election
                      Write-in Candidacy Petition Deadline -
07/26/16   5:00 PM    deadline to have signatures verified by       2016 Gen            163-123                      15 days before the date petition is due to be filed with the State Board of Elections
                      county board
                                                                                                                     105 days prior to the next election that the new precinct boundaries will be in
07/26/16              Deadline to Submit Precinct Change Proposal 2016 Gen              163-132.3
                                                                                                                     effect.
07/31/16              Publication of UOCAVA Election Notice          2016 Gen           163-258.16                   Not later than 100 days before election day
                      Deadline for Unaffiliated Presidential
08/05/16   12:00 PM                                                  2016 Gen           163-209                      No later than 12:00 noon on the first Friday in August of presidential election year
                      Candidate to provide VP name for ballot
                      Verified Write-in Candidacy Petition Deadline
08/10/16   12:00 PM                                                 2016 Gen            163-123                      90 days before the general election date in even-numbered years
                      - State Board of Elections Contests
                      Write-in Candidacy Petition Deadline -
08/10/16   12:00 PM                                                  2016 Gen           163-123                      90 days before the general election date in even-numbered years
                      County Board Contests
                      Party Nominee's right to withdraw as
09/09/16                                                             2016 Gen           163-113                      No later than the date absente ballots become available
                      candidate
                      Absentee Voting - Date By Which Absentee
09/09/16                                                             2016 Gen           163-227.3(a) &163-258.9      60 days prior to a statewide general election
                      Ballots Must be Available
09/24/16              Notice of Precinct/Voting Place Change         2016 Gen           163-128(a)                   45 days prior to next primary or election
09/24/16              Publish legal notice of any special election   2016 Gen           163-287                      45 days prior to the special election date
                                                                                                                     Publish weekly during the 20 day period before the voter registration deadline.
09/24/16              Publish Election Notice 1                      2016 Gen           163-33(8)
                                                                                                                     (Start 21 days before deadline)
09/24/16              Mail Second Incomplete Notice                  2016 Gen           163-82.4(e)                  Within 45 days of the date of a general election
                                                                                                                     Publish weekly during the 20 day period before the voter registration deadline.
09/30/16              Publish Election Notice 2                      2016 Gen           163-33(8)
                                                                                                                     (Start 21 days before deadline)
                                                                                                                     Publish weekly during the 20 day period before the voter registration deadline.
10/07/16              Publish Election Notice 3                      2016 Gen           163-33(8)
                                                                                                                     (Start 21 days before deadline)
                      Last day to mail notice of polling place
10/09/16                                                             2016 Gen           163-128                      No later than 30 days prior to the primary or election
                      changes.
                      Notification to Voters of Precinct/Voting
10/09/16                                                             2016 Gen           163-128(a)                   30 days prior to the primary or election
                      Place Change
10/14/16   5:00 PM    Voter Registration Deadline                    2016 Gen           163-82.6(c)                  25 days before the primary or election day
                      Voter Challenge Deadline - last day to
10/14/16                                                             2016 Gen           163-85                       No later than 25 days before an election.
                      challenge before Election Day
                      Voter Registration Deadline - Exception for
10/19/16              missing or unclear postmarked forms or         2016 Gen           163-82.6(c) ; 163-82.6(c1)   No later than 20 days before the election
                      forms submitted electronically by deadline
10/27/16              Absentee One Stop Voting Begins                2016 Gen           163-227.2(b)                 Not earlier than the second Thursday before an election
                      Last day to request an absentee ballot by
11/01/16   5:00 PM                                                   2016 Gen           163-230.1(a)                 Not later than 5:00 p.m. on the Tuesday before the election
                      mail.
                      Late absentee requests allowed due to                                                          After 5:00 p.m. on the Tuesday before the election but not later than 5:00 p.m. on
11/01/16   5:00 PM                                                   2016 Gen           163-230.1(a1)
                      sickness or physical disability                                                                the day before the election.
                              Case 5:15-cv-00156-D Document 83-2 Filed 07/18/16 Page 1 of 2
 DATE      TIME       EVENT                                      EXHIBIT  A TO DECLARATION
                                                                     Election               OF GARY
                                                                                       REFERENCE        SIMS
                                                                                                 (N.C. GEN. STAT.)        RULE
11/03/16   10:00 AM   Election Day Observer/Runner List Due           2016 Gen            163-45(b)                       By 10:00 a.m. on the 5th day prior to Election Day
11/05/16   1:00 PM    Absentee One Stop Voting Ends                   2016 Gen            163-227.2(b)                    Not later than 1:00 p.m. on the last Saturday before the election
11/07/16   5:00 PM    UOCAVA Voter Registration Deadline              2016 Gen            163-258.6                       No later than 5:00 p.m. on the day before election day.
11/07/16   5:00 PM    UOCAVA Absentee Ballot Request Deadline         2016 Gen            163-258.7                       No later than 5:00 p.m. on the day before election day.




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11/08/16   5:00 PM    Civilian Absentee Return Deadline               2016 Gen            163-231(b)(1)                   Not later than 5:00 p.m. on day of the primary or election
                      Begin Counting Absentee Ballots (Cannot
11/08/16   5:00 PM                                                    2016 Gen            163-234                         5:00 p.m. on election day unless an earlier time was set by resolution
                      announce before 7:30 p.m.)
                      Distribute Election Day Absentee Abstract to
11/08/16                                                              2016 Gen            163-234(6)                      Election Day
                      SBOE
                      UOCAVA absentee ballot return deadline -
11/08/16   7:30 PM                                                    2016 Gen            163-258.10                      Close of polls on Election Day
                      electronic
11/08/16   12:00 PM   Period to challenge an absentee ballot          2016 Gen            163-89                          No earlier than noon or later than 5:00 p.m. on Election Day
11/08/16   6:30 AM    ELECTION DAY                                    2016 Gen            163-1                           Tuesday after the first Monday in November
11/09/16              Sample Audit Count - Precincts Selection        2016 Gen            163-182.1(b)(1)                 Within 24 hours of polls closing on Election Day
                      Civilian Absentee Return Deadline - Mail                                                            If postmarked on or before election day and received not later than three days after
11/14/16   5:00 PM                                                    2016 Gen            163-231(b)(2)
                      Exception                                                                                           the election
                      Deadline for provisional voters subject to
11/17/16   12:00 PM                                                   2016 Gen            163-166.13; 163-182.1A(c)       Not later than 12:00 noon the day prior to the time set for the county canvass.
                      VIVA ID to provide ID to county board
                      UOCAVA Absentee Ballot Return Deadline -
11/17/16   5:00 PM                                                    2016 Gen            163-258.12                      By end of business on the business day before the county canvass.
                      Mailed
11/18/16   11:00 AM   County Canvass                                  2016 Gen            163-182.5(b)                    10 days after statewide general election
11/18/16              Mail Abstract to State Board of Elections       2016 Gen            163-182.6                       10 days after statewide general election
                      Deadline for election protest concerning
11/18/16                                                              2016 Gen            163-182.9(b)(4)a                Before the beginning of the county canvass
                      votes counted or tabulation of results
                      Deadline for candidates in CBE jurisdictional
11/21/16   5:00 PM                                                    2016 Gen            163-182.7(b)                    5:00 p.m. on the first business day after the canvass
                      contests to request recount
                      Deadline for candidates in SBOE jurisdictional
11/22/16   5:00 PM                                                   2016 Gen             163-182.7(c); 163-182.4(b)(5)   5:00 p.m. on the second business day after the canvass
                      contests to request recount
                      Deadline to file election protest concerning
                      manner in which votes were counted or
11/22/16   5:00 PM                                                  2016 Gen              163-182.9(b)(4)b                5:00 p.m. on the second business day after the county canvass
                      results were tabulated and there is cause for
                      delay in filing
                      Deadline to file election protest concerning
11/22/16   5:00 PM    any other irregularity than votes or            2016 Gen            163-182.9(b)(4)c                5:00 p.m. on the second business day after the county canvass
                      tabulation of results
                      CBE issues certificates of nomination or                                                            Six days after the county canvass (In a Municipal Election, the rule is no earlier than
11/28/16                                                              2016 Gen            163-182.15(a); 163-301
                      election if no protest is pending                                                                   5 days and no later than 10 days after the certification of the election.)
11/29/16              State Canvass                                 2016 Gen              163-182.5(c)                    11:00 a.m. on the Tuesday three weeks after election day.
                      SBOE Issues Certification of Nomination or
12/05/16                                                            2016 Gen              163-182.15                      6 days after the State Canvass
                      Election
                      Report Results by Voting Tabulation Districts
01/07/17                                                            2016 Gen              163-132.5G                      No later than 60 days after Election Day
                      (VTD)
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